                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

BOBBY JO ROSINBAUM and
ROBERT WILLIAM MORGAN, JR.,
individually and on behalf of all similarly
situated individuals,

                       Plaintiffs,
                                              Civ. A. No. 7:16-cv-00233-FL
               v.

FLOWERS FOODS, INC., and
FRANKLIN BAKING CO., LLC,

                       Defendant.


   DEFENDANTS FLOWERS FOODS, INC. AND FRANKLIN BAKING CO., LLC’S
       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
         CONDITIONAL CERTIFICATION AND JUDICIAL NOTICE




                        Table of
                        Exhibits

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Exhibit 1:    Declaration of William Morrison

Exhibit 2:    Excerpts of Bobby Jo Rosinbaum deposition (September 15, 2016)

Exhibit 3:    Excerpts of Robert Morgan deposition (September 16, 2016)

Exhibit 4:    Declaration of Larry Donnelle Beamon

Exhibit 5:    Declaration of Greg Collier

Exhibit 6:    Declaration of Clinton Dixon

Exhibit 7:    Declaration of John Dudney

Exhibit 8:    Declaration of Douglas Shane Harrison

Exhibit 9:    Declaration of Gary Lynn Hart

Exhibit 10:   Declaration of Chris Hilburn

Exhibit 11:   Declaration of Danny Kaye Ormond

Exhibit 12:   Declaration of Ray Perry

Exhibit 13:   Declaration of Robert Small

Exhibit 14:   Declaration of Jonathan Tuton

Exhibit 15:   Table of Conflicts Between Plaintiffs’ Declarations And Their Deposition
              Testimony

Exhibit 16:   Plaintiffs’ Lack Of Knowledge Regarding Distributors, Managers, And
              Operations At Other Warehouses




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